Case: 1:22-cv-03998 Document #: 18 Filed: 09/19/22 Page 1 of 1 PagelD #:112

AO 399 (01/09) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the
Dena Natour on behal of minor Hadi Abuatelah )
Plaintiff )
¥. ) Civil Action No. 22 CV 03998
Chief of Oak Lawn Police Daniel Vittorio et al. )
Defendant )

WAIVER OF THE SERVICE OF SUMMONS

To: Zaid Abdallah
(Name of the plaintiff's attorney or unrepresented plaintiff)

Ihave received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity T represent, will keep all defenses or objections to the lawsuit, the court’s.
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service,

1 also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 09/08/2022 , the date when this request was sent (or 90 days if it was sent outside the
United States). IfI fail to do so, a default judgment will be entered against me or the entity I represent.

Date: 09/08/2022 Pa OD. EE

Signature of the attorney or unrepresented party

Officer P. O'Donnell Petpwe C>Denne | |

* 1s > = . v
Printed name of party waiving service of summons Printed name .

WHE DRoymend Ave Caicbaun TL

Address

£-mail address

Telephone number

Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to retum a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause” does not include a betief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service. :

Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
